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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                               DELTA DIVISION


EVELYN SMITH,                                                                 PETITIONER

V.                                                                   NO. 1:06CR0074-WAP

UNITED STATES OF AMERICA,                                                    RESPONDENT



                                    FINAL JUDGMENT

       In accordance with the opinion issued this day, Petitioner's Motion to Vacate, Sentence

Pursuant to 28 U.S.C. § 2255 (docket entry 219) is hereby DENIED and is DISMISSED with

prejudice.
       IT IS SO ORDERED.

       THIS the 10th day of October, 2008.




                                                  /s/ W. Allen Pepper, Jr.
                                                  W. ALLEN PEPPER, JR.
                                                  UNITED STATES DISTRICT JUDGE
